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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION

  DAMIAN ORLOWSKI, et al.,                         )
                                                   )
         Plaintiffs, on behalf of themselves and   )
         all others similarly situated,            )
  v.                                               )           No. 2:11-cv-1396-SHL-cgc
                                                   )
  LARRY BATES, et al.,
                                                   )
         Defendants.                               )

          ORDER GRANTING THIRD MOTION TO APPROVE SALE OF COINS


         Before the Court is the Receiver’s Third Motion to Approve Sale of Assets and Request

  for Expedited Disposition, filed October 16, 2017. (ECF No. 948.) The Receiver requests the

  Court’s permission to sell the remaining gold coins admitted to have been stolen by Sherry

  Barnett in order to pay the expenses of the Receivership Entities. (Id. at 1.) On October 26,

  2017, Larry Bates filed a Response in Opposition (ECF No. 951), and, upon its motion, the Court

  allowed the Receiver to file a Reply (ECF No. 964, filed November 17, 2017).

         The Receiver argues that it requires additional capital to meet the Receivership Estate’s

  continuing expenses. (ECF No. 948 at 1.) In support, the Receiver asserts that Sherry Barnett

  admitted to misappropriating the coins at issue and that the coins are unquestionably the property

  of First American Monetary Consultants (“FAMC”) rather than any individual defendant. (Id.)

  Further, the Receiver argues that any concerns regarding forfeiture and the preservation of

  evidence in the related criminal matter have now dissipated with the final judgments having been

  entered there. (ECF No. 948 at 3–4); see also United States v. Bates, Case No. 15-20192; (ECF

  No. 875 at 1–2.)
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         Larry Bates raises numerous arguments in his Response. He first argues that the

  Receiver has devalued the Receivership Entities by selling their assets at below market value. 1

  (ECF No. 951 at 1.) Second, Mr. Bates insinuates that the gold coins belong to him and his wife

  because they loaned FAMC $440,000.00 in gold coins and have never received an accounting.

  (Id. at 2.) Third, he argues that the Receiver, as a mere bailee of FAMC’s customers, is not

  authorized to sell the coins. (Id.) Fourth, he accuses the Receiver of working in concert with

  several other unscrupulous characters to conceal a larger theft by Sherry Barnett. 2 (Id. at 2–3.)

  Fifth, he argues that the Receiver breached its fiduciary duty by selling coins in order to pay its

  expenses. (Id. at 3–4.)

         As the Court held in its previous order, it is well within the Receiver’s authority to sell

  assets of the Receivership Entities to pay expenses. (ECF No. 875 at 2); (see also Order

  Granting Motion for Appointment of a Receiver, ECF No. 123 at ¶ 13 (“[T]he Receiver may take

  such action as he deems necessary or appropriate to reform and revitalize the Receivership entity

  . . . He shall have all the powers of the directors, officers and managers . . . He shall have power

  to make such payments and disbursements from the Receivership Entities and incur such

  expenses as may be necessary and advisable in discharging his duties as Receiver, or for the

  proper conduct of any usual and lawful business of the Receivership entity.”).) The Court is not

  persuaded by Mr. Bates’s arguments that either he or FAMC customers own the specific coins at

  issue and the Receiver is thus precluded from liquidating them. There is no proof in the record




         1
          Mr. Bates does not characterize this claim as one of a breach of fiduciary duty, but the
  Court construes it as such.
         2
           The Court has addressed Mr. Bates’s conspiracy theories on numerous prior occasions.
  He has never provided proof of these claims. Thus, the Court will not address them further in
  this Order.
                                                    2
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  that these coins were bought for a certain purpose or a specific customer. Further, as the

  Receiver argues, these coins are fungible. (ECF No. 946 at 2.)

          Next, there is no proof that the Receiver has breached its fiduciary duty. Beginning with

  Mr. Bates’s claim that the Receiver sold assets at below market value, Mr. Bates makes only

  general allegations while providing no proof to corroborate his claim. In fact, the Receiver has

  sold identifiable assets with the Court’s approval throughout this case. (See, e.g., ECF Nos. 151,

  271, 773); (see also ECF No. 123) (authorizing the Receiver to sell Receivership assets upon

  approval by the Court.) Additionally, the Receiver is authorized to receive compensation for its

  services upon Court approval, and that compensation is allowed to derive from the Receivership

  Entities’ assets. (ECF No. 123 at 5) (“The compensation of the Receiver . . . and all expenses of

  taking possession of the Receivership Entities and of conducting the proceeding shall be

  approved by the Court and shall be paid out of the funds or assets of the Receivership Entities

  and such other funds as deemed appropriate by this Court.”) Thus, the Court is not persuaded

  here, either.

          The last issues for the Court to address are the previous concerns regarding forfeiture and

  preservation of evidence in the Bates’s criminal case. Pursuant to the Court’s Order Granting the

  Government’s Motion for Forfeiture, the Government can attain only “subsequently discovered,

  directly forfeitable property.” See United States v. Bates, Case No. 15-cr-20192, ECF No. 608 at

  4. The assets at issue here have been in the Receiver’s possession since January 2017, thus, they

  are not encumbered by the Government’s right to forfeiture of certain assets.

          As for the preservation of evidence issue, the Court previously noted that the coins

  themselves were only secondarily important physical evidence in the criminal case. (ECF No.

  875 at 2.) With the entry of final judgments in the criminal case, the physical coins are even less



                                                   3
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  important. Indeed, no party used the coins in the first trial in a manner that would require their

  physical presence. If there was a need for a retrial, Defendants could use photographs of the

  coins, the physical packaging of the coins and any coins still in the possession of the Receiver to

  support their cases.

           Based on the foregoing, the Court GRANTS the Receiver’s Motion to Approve Sale of

  Coins.

           IT IS SO ORDERED, this 6th day of December, 2017.

                                                        s/ Sheryl H. Lipman
                                                        SHERYL H. LIPMAN
                                                        UNITED STATES DISTRICT JUDGE




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